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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,           )
                                    )
Plaintiff,                          )                 Criminal Action
                                    )
v.                                  )                 No. 07-10142-04-JTM
                                    )
COREY CORNELIUS,                    )
                                    )
Defendant.                          )
                                    )
___________________________________ )


                                MEMORANDUM AND ORDER

       This matter is before the court on defendant Corey Cornelius’ motion to appoint

additional counsel (Dkt. No. 154). For the reasons stated below, this court grants the motion.

       Mr. Cornelius was indicted on September 13, 2007, with multiple counts of criminal

activity, including the premeditated murder of Umanah Smith, a crime punishable by death. Mr.

Cornelius’ current counsel, Mr. Carl Maughan, has not yet tried a capital case to a jury.

Accordingly, Mr. Maughan met with this court, ex parte, to specifically request that it grant the

motion currently before the court. The government did not object to this meeting, and during

that time, Mr. Maughan identified Mr. James T. Rowan of Rowan, Ashbaker & McKay, P.C., as

an attorney with death penalty experience. Pursuant to the Guide to Judiciary Policies &

Procedures, Volume 7, Chapter 2, Rule 2.11(B), this court finds it in the interest of justice to

appoint an additional attorney to this extremely difficult case, which has been declared complex.

As such, Mr. Rowan is hereby appointed as co-counsel in the representation of Mr. Cornelius.

       Mr. Rowan’s contact information is as follows:
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       James T. Rowan
       Rowan, Ashbaker, and McKay
       435 N. Walker
       Suite 105
       Oklahoma City, Oklahoma 73102
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       IT IS ACCORDINGLY ORDERED this 13th day of December, 2007, that defendant

Cornelius’ motion to appoint additional counsel (Dkt. No. 154) is granted.



                                                           s/ J. Thomas Marten
                                                           J. THOMAS MARTEN, JUDGE




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